      Case 5:16-cv-00036-MHH-HGD Document 7 Filed 03/04/16 Page 1 of 2                      FILED
                                                                                   2016 Mar-04 PM 02:42
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA
                    NORTHEASTERN DIVISION


MARCUS JEROME ECHOLS,                   )
                                        )
                      Plaintiff         )
                                        )
      vs.                               )   Case No. 5:16-CV-00036-MHH-HGD
                                        )
SHERIFF ANNA FRANKLIN,                  )
et al.,                                 )
                                        )
                      Defendants        )


                             ORDER TO SHOW CAUSE

      On January 8, 2016, plaintiff Marcus Jerome ECHOES, then a Morgan County

Jail inmate, filed a complaint pursuant to 42 U.S.C. § 1983. (Doc. 1). On the same

date, the plaintiff filed a computer generated print-out that appears to be a statement

of his jail account. (Doc. 2). On January 11, 2016, the plaintiff directed a letter to

United States District Court Clerk Sharon Harris purporting to answer questions he

“missed . . . in the application to proceed in forma pauperis” after he “had already

sent out the packet.” (Doc. 3). However, the plaintiff did not file a formal

application to proceed in forma pauperis, and the letter is not sworn to under oath or

penalty of perjury.


                                      Page 1 of 2
      Case 5:16-cv-00036-MHH-HGD Document 7 Filed 03/04/16 Page 2 of 2




      On January 20, 2016, the plaintiff notified the court of his release from

custody. (Doc. 5). He is therefore ORDERED to show cause in writing and under

oath within thirty (30) days from the date this order is entered as to why he should not

be required to pay the $350.00 filing fee and the $50.00 administrative fee to proceed

with the case, with such payment to be made within ninety (90) days from the date

this order is entered. The plaintiff must, at a minimum, complete and sign the

attached Response to Order to Show Cause. The plaintiff is ADVISED that unless

he responds to this order within thirty (30) days from the date the order is entered,

this action may be dismissed without further notice.

      The Clerk is DIRECTED to serve a copy of this Order and the attached

Response to Order to Show Cause upon the plaintiff.

      DATED this 4th day of March, 2016.




                                               HARWELL G. DAVIS, III
                                         UNITED STATES MAGISTRATE JUDGE




                                      Page 2 of 2
